
987 A.2d 252 (2010)
STATE
v.
Alan D. SAMPSON.
No. 2004-369-C.A.
Supreme Court of Rhode Island.
February 5, 2010.
Christopher R. Bush, Department of Attorney General.
Marie T. Roebuck, Office of the Public Defender.

ORDER
This case came before the Court for oral argument on January 26, 2010, pursuant to an order directing the parties to appear and show cause why the issues raised by this appeal should not summarily be decided. After reviewing the memoranda submitted by the parties and hearing the oral arguments of the parties, we conclude that cause has been shown.
Accordingly, this case is assigned to the regular calendar for full briefing and argument. The appellant's brief will be due within forty days of the date of this order. Further briefing shall be in accordance with Article I, Rule 16 of the Supreme Court Rules of Appellate Procedure.
The parties are directed to address the issue of the value of the property that was alleged to have been stolen.
